Case 2:22-bk-50804       Doc 30    Filed 03/28/22 Entered 03/28/22 09:19:25            Desc Main
                                   Document     Page 1 of 7



                     IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


In re                            )                           Chapter 11
                                 )
VOLUNTEER ENERGY SERVICES, INC., )                           Case No. 22-50804
                                 )
              Debtors.           )                           Judge Preston
                                 )


            NOTICE OF SOLICITATION OF INTEREST FOR SERVING ON
                  AN UNSECURED CREDITORS' COMMITTEE

        PLEASE TAKE NOTICE THAT pursuant to 11 U.S.C. § 1102, the United States Trustee
may appoint a committee to represent the unsecured creditors of the estate. The Committee
represents the interests, and acts on behalf, of all unsecured creditors. Members of the
Committee are generally selected from the list of the twenty largest unsecured creditors.
        If you wish to be considered for membership on the Committee, please complete the
attached Questionnaire and return it to Jeremy.S.Flannery@usdoj.gov at the Office of the United
States Trustee so that it is received no later than Friday, April 1, 2022 @ 1:00 pm. Return of
the questionnaire, however, does not guarantee appointment to the Committee, only that you will
be considered.
        If you have any questions, please contact Jeremy S. Flannery at (202) 527-5812.


Dated: March 28, 2022                        ANDREW R. VARA
                                             UNITED STATES TRUSTEE

                                             By:      /s/ MaryAnne Wilsbacher
                                                     MaryAnne Wilsbacher
                                                     Assistant U.S. Trustee
                                                     170 North High Street, Suite 200
                                                     Columbus, OH 43215
                                                     (202) 573-6966
                                                     FAX 469-7448
                                                     MaryAnne.Wilsbacher@usdoj.gov
     Case 2:22-bk-50804          Doc 30     Filed 03/28/22 Entered 03/28/22 09:19:25                  Desc Main
                                            Document     Page 2 of 7
                                                        U.S. Department of Justice

                                             Office of the United States Trustee
                                             Region 9 - Columbus Office
                                             Southern District of Ohio
______________________________________________________________________________________________________

                                                        170 N. High St., Suite 200 Telephone No. (614) 469-7411
                                                        Columbus, Ohio 43215           Fax No. (614) 469-7448


  RE:              SOLICITATION OF INTEREST FOR SERVING ON AN UNSECURED
                   CREDITORS' COMMITTEE

                   Volunteer Energy Services, Inc., Case # 22-50804
                   United States Bankruptcy Court for the Southern District of Ohio

  Dear Creditor:

           The above named debtor(s) filed a voluntary petition for relief under Chapter 11 of the Bankruptcy Code.
   Section 1102(b) of Bankruptcy Code authorizes the United States Trustee to appoint an Official Committee of
  Unsecured Creditors ("Committee"), and the debtor's petition or other sources of information indicate that you
  may be eligible for appointment to the Committee in this case. The Committee represents the interests, and acts
  on behalf, of all unsecured creditors. Members of the Committee are generally selected from the list of the twenty
  largest unsecured creditors.

  If you wish to be considered for membership on the Committee, please complete the enclosed Questionnaire and
  return it to Jeremy.S.Flannery@usdoj.gov at the Office of the United States Trustee so that it is received no later
  than Friday, April 1, 2022 @ 1:00 pm. Return of the questionnaire, however, does not guarantee appointment
  to the Committee, only that you will be considered. If you do not wish to serve on the Committee, you do not
  need to return the form.

           The United States Trustee urges you to consider serving on the Committee. Under the Bankruptcy Code,
  the Committee has the right to demand that the debtor consult with the Committee before making major decisions
  or changes, to request the appointment of a trustee or examiner, to participate in the formation of a plan of
  reorganization, and in some cases, to propose its own plan of reorganization. If appropriate, the Committee may
  request that the Bankruptcy Court convert a chapter 11 case to one under chapter 7, at which time the debtor’s
  operations would cease and its assets would be liquidated. The Committee is authorized to select and employ an
  attorney and other necessary professionals, subject to court approval. Fees of professionals employed by the
  Committee may be paid from available assets, if any, of the bankruptcy estate after court approval. Further,
  Committee members' actual expenses may be reimbursed from estate assets.

          If we receive sufficient creditor interest in this solicitation, we may schedule a meeting or telephone
  conference for the purpose of forming a committee. If, however, a sufficient number of creditors do not elect to
  serve on the Committee, a Committee may not be formed, and these rights may go unexercised.

          The Committee performs a vital role in chapter 11 reorganizations, and we hope that you will choose to
  participate.

  Dated: March 28, 2022                                     ANDREW R. VARA
                                                            UNITED STATES TRUSTEE

                                                            By:     /s/ MaryAnne Wilsbacher
                                                                    MaryAnne Wilsbacher
                                                                    Assistant U.S. Trustee
Case 2:22-bk-50804       Doc 30    Filed 03/28/22 Entered 03/28/22 09:19:25              Desc Main
                                   Document     Page 3 of 7



                 Official Committee of Unsecured Creditors’ Committee
                                  Information Sheet

        Purpose of Unsecured Creditors' Committees. To increase participation in the
chapter 11 proceeding, section 1102 of the Bankruptcy Code requires that the United States
Trustee appoint a committee of unsecured creditors (the "Committee") as soon as practicable
after the order for relief has been entered. The Committee ordinarily consists of the persons,
willing to serve, who hold the seven (7) largest unsecured claims of the kinds represented on
such committee. The debtor has filed a list indicating that your claim may be among the
largest unsecured claims against the debtor, and for that reason, you may be eligible to serve
on the Committee.

         Powers and Duties of Unsecured Creditors' Committees. Members of the
Committee are fiduciaries who represent all unsecured creditors as a group without regard to
the types of claims which individual unsecured creditors hold against the debtor. Section
1103 of the Bankruptcy Code provides that the Committee may consult with the debtor,
investigate the debtor and its business operations, and participate in the formulation of a plan
of reorganization. The Committee may also perform such other services as are in the
interests of the unsecured creditors which it represents. Moreover, Federal Rule of
Bankruptcy Procedure 2019, as amended, requires each member of an official committee to
file a verified statement disclosing its name, its address, and the nature and amount of each
“disclosable economic interest”1 held in relation to the debtor on the date the committee was
formed. Rule 2019 also requires the committee to file a verified supplemental statement
updating the earlier information (if information previously disclosed has materially changed)
when taking a position before the court or soliciting votes on a plan.

        Employment of Professionals. Section 1103 of the Bankruptcy Code provides that
the Committee may, subject to the bankruptcy court's approval, employ one or more
attorneys, accountants, or other professionals to represent or perform services for the
Committee. The decision to employ particular professionals should occur at a scheduled
meeting of the Committee where a majority of the Committee is present. All professionals
retained by the Committee may be compensated from assets of the debtor's estate pursuant to
section 330 of the Bankruptcy Code. Applications for the payment of professional fees may
be monitored by the Office of the United States Trustee and are subject to the Court's
approval. However, the Committee should carefully review all applications and not rely on
the Court or the United States Trustee to discover and object to unreasonable or unnecessary
professional fees or costs.

        Other Matters. The Committee should elect a chairperson and may adopt bylaws.
As a party in interest, the Committee may be heard on any issue in the bankruptcy
proceeding. Federal Bankruptcy Rule 2002(i) requires that the Committee (or its authorized
agent) receive all notices concerning motions and hearings in the bankruptcy proceeding.

               In the event you are appointed to an official committee of creditors, the
       United States Trustee may require periodic certifications of your claims while
       the bankruptcy case is pending. Creditors wishing to serve as fiduciaries on any
       official committee are advised that they may not purchase, sell, or otherwise
       trade in or transfer claims against the Debtor while they are committee members
Case 2:22-bk-50804        Doc 30    Filed 03/28/22 Entered 03/28/22 09:19:25               Desc Main
                                    Document     Page 4 of 7



       absent an order of the Court. By submitting the enclosed Questionnaire and
       accepting membership on an official committee of creditors, you agree to this
       prohibition. The United States Trustee reserves the right to take appropriate
       action, including removing a creditor from any committee, if the information
       provided in the Questionnaire is inaccurate, if the foregoing prohibition is
       violated, or for any other reason the United States Trustee believes is proper in
       the exercise of his discretion. You are hereby notified that the United States
       Trustee may share this information with the Securities and Exchange
       Commission if deemed appropriate.


        Privacy Act Statement. 11 U.S.C. § 1102 authorizes the collection of this
information. The information will be used by the United States Trustee to determine your
qualifications for appointment to the Committee. Disclosure of this information may be to a
bankruptcy trustee or examiner when the information is needed to perform the trustee’s or
examiner’s duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law
enforcement agency when the information indicates a violation or potential violation of law.
Other disclosures may be made for routine purposes. For a discussion of the types of routine
disclosures that may be made, you may consult the Executive Office for United States
Trustee’s systems of records notice, UST-001, “Bankruptcy Case Files and Associated
Records.” See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be
obtained at the following link: http://www.justice.gov/ust/eo/rules_regulations/index.htm
Your disclosure of information is voluntary; however, failure to provide the requested
information may result in the rejection of your application to be appointed to the Committee.

     Should you have any additional questions concerning the Committee or your
membership on the Committee, please contact the Office of the United States Trustee.
Case 2:22-bk-50804         Doc 30     Filed 03/28/22 Entered 03/28/22 09:19:25                  Desc Main
                                      Document     Page 5 of 7



                                Office of the United States Trustee
                                      Southern District of Ohio
                                     170 N. High St., Suite 200
                                       Columbus, Ohio 43215
                                    Telephone No. (614) 469-7411
                                       Fax No. (614) 469-7448

       QUESTIONNAIRE FOR OFFICIAL COMMITTEE OF UNSECURED CREDITORS

                     In re Volunteer Energy Services, Inc., Case No. 22-50804

Please Type or Print Clearly.

I am willing to serve on a Committee of Unsecured Creditors.      Yes ( )          No ( )

A. Unsecured Creditor's Name and Contact Information:

Name: ___________________________________________ Phone: __________________
Address: ___________________________________________ Fax:    __________________
         ___________________________________________ E-mail:__________________
         ____________________________________

B. Counsel (If Any) for Creditor and Contact Information:

Name: ___________________________________________ Phone: __________________
Address: ___________________________________________ Fax:    __________________
         ___________________________________________ E-mail: __________________
        ___________________________________________

C. If you were contacted by a professional person(s) (e.g., attorney, accountant, or financial advisor)
regarding the formation of this committee, please provide that individual’s name and/or contact
information:

Name:           ___________________________________________
Address:        ___________________________________________
                ___________________________________________

D. Amount of Unsecured Claim (U.S. $)             __________________________

E. If your claim is against more than one debtor, list all debtors: ____________________________
_________________________________________________________________________________


F. Describe the nature of your claim(s), i.e., whether arising from goods or services provided; loans
made; litigation; etc., including whether any portion is secured. If secured, please describe the
collateral securing the claim. If any portion of the claim(s) arise from litigation, please state the
nature of the claim, the case number and jurisdiction (if applicable) and the status.
_________________________________________________________________________________
_________________________________________________________________________________
_________________________________________________________________________________
Case 2:22-bk-50804         Doc 30     Filed 03/28/22 Entered 03/28/22 09:19:25                  Desc Main
                                      Document     Page 6 of 7


G. Amount of Unsecured Claim entitled to 11 U.S.C. §503(b) treatment as an administrative
expense:
_______________________________________________________________________________

H. Would your schedule permit you to actively participate on the committee by attending weekly
meetings (either by telephone or in person)? Yes ( ) No ( )


I. Representations:

    1. Are you or the company you represent in any way: “affiliated” with any of the debtors within
       the meaning of Section 101(2) of the Bankruptcy Code, or a shareholder of, or related to, the
       debtor(s)? Yes ( ) No ( ) If a shareholder, state the number of shares: ________

    2. Do you, or the company you represent, engage in a business which directly or indirectly
       competes with any of the businesses of the debtor(s)? Yes ( ) No ( )

    3. Have you ever been or are you an officer, director, agent, representative or employee of the
       debtor(s)? Yes ( ) No ( ) Does your claim arise from this relationship? Yes ( ) No ( )

    4. State when you acquired the claim, the amount paid, and the face amount of the claim:
       ___________________________________________________________________________

    5. Have you or your attorney entered into a settlement agreement with the debtor regarding
       resolution of your claim? Yes ( ) No ( )

    6. Do you have a claim against any entity affiliated with the debtor? Yes ( ) No ( )
       State the name of the entity and the nature and amount of the claims:
       ___________________________________________________________________________
       ___________________________________________________________________________

    7. Do you or any affiliated entities have any other claims against, or debt or equity securities of,
       the debtor(s)? Yes ( ) No ( )

    8. Do you or any affiliated entities have any financial arrangement that may affect the value of
       your claim(s) against or interest(s) in the debtor(s) (e.g., personal guarantees, credit
       insurance, etc.)? Yes ( ) No ( )

    9. If you have given a proxy to a third party either to represent you at the creditors’ committee
       formation meeting, or in connection with your claim, please attach a copy of the written
       proxy. If a professional person has arranged for someone to hold a proxy on your behalf,
       please identify that individual:

        Name:            ___________________________________
        Address:         ___________________________________
                         ________________________________
                         ________________________________

        You may attach a written statement to explain or supplement any responses.
Case 2:22-bk-50804         Doc 30     Filed 03/28/22 Entered 03/28/22 09:19:25                  Desc Main
                                      Document     Page 7 of 7


Creditors wishing to serve as fiduciaries on an official committee are advised that they may not
purchase, sell, or otherwise trade in or transfer claims against the debtor while they are
committee members absent an order of the court on application of the creditor.

        Please be advised that once a committee is formed, the United States Trustee will file a notice
of appointment in the court record that contains contact information for any creditor appointed,
including the creditor’s name, address, and telephone number.



         Privacy Act Statement. 11 U.S.C. § 1102 authorizes the collection of this information. The
information will be used by the United States Trustee to determine your qualifications for appointment to
the Committee. Disclosure of this information may be to a bankruptcy trustee or examiner when the
information is needed to perform the trustee’s or examiner’s duties, or to the appropriate federal, state,
local, regulatory, tribal, or foreign law enforcement agency when the information indicates a violation or
potential violation of law. Other disclosures may be made for routine purposes. For a discussion of the
types of routine disclosures that may be made, you may consult the Executive Office for United States
Trustee’s systems of records notice, UST-001, “Bankruptcy Case Files and Associated Records.” See 71
Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link:
http://www.justice.gov/ust/eo/rules_regulations/index.htm Your disclosure of information is voluntary;
however, failure to provide the requested information may result in the rejection of your application to be
appointed to the Committee.

         I hereby certify that, to the best of my knowledge and belief, the answers to this Questionnaire are
true and correct. By executing this Questionnaire, I also agree to the restrictions and conditions set forth
in the preceding paragraphs and in the Committee Information Sheet, and I agree to provide periodic
certifications upon request of the United States Trustee.

Date: __________________                                  Signature:
                                                          ________________________________

                                                          Print Name:
                                                          _______________________________




Note: This is not a proof of claim form. Proof of claim forms are filed with the Clerk of the
Bankruptcy Court, not with the United States Trustee.
